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 5                                 UNITED STATES DISTRICT COURT

 6                                EASTERN DISTRICT OF CALIFORNIA

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 9   UNITED STATES OF AMERICA,
                                                                    NO. CR. S-08-103 LKK
10                   Plaintiff,

11           v.                                                     ORDER

12
     JOHN PHILLIP PRUITT, et al.,
13              Defendants.
                                            /
14
             In order for the court to adequately prepare for trial, the court hereby ORDERS as follows:
15
     A. TRIAL BRIEFS
16
             The Government shall file, and the defendant may file with the court five (5)
17
     court days prior to trial a brief setting forth:
18
             (1) a short statement of facts;
19
             (2) a summary of points of law, including reasonably anticipated disputes concerning
20
             admissibility of evidence, legal arguments, any other information the parties believe is
21
             relevant to the court, and citations of authority in support thereof.
22
     B. PROPOSED JURY INSTRUCTIONS
23
             Counsel are informed that the court has prepared a set of standard jury instructions. In
24
     general, they cover all aspects of the trial except those relating to the charges contained in the
25
     charging document. Accordingly, counsel need not prepare instructions concerning matters within
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 1   the scope of the prepared instructions. A copy of the prepared instructions has been provided to

 2   the parties at the trial confirmation hearing. Counsel are further directed that their specific jury

 3   instructions shall be filed seven (7) court days prior to the date of trial. As to any instructions

 4   counsel desire to offer, they shall be prepared in accordance with the following requirements:

 5           Two copies of the instructions shall be submitted. One copy shall be electronically
             filed as a .pdf document and shall contain each instruction on a separate page,
 6           numbered and identified as to the party presenting it. Each instruction shall cite the
             decision, statute, ordinance, regulation or other authority supporting the proposition
 7           stated in the instruction.” The second copy (“jury copy”) shall be submitted by e-
             mail to lkkorders@caed.uscourts.gov.
 8
     C. PROPOSED VERDICT FORM AND VOIR DIRE QUESTIONS
 9
             In addition, the Government shall provide copies of proposed forms of verdict. The parties
10
     may file proposed voir dire questions (seven court days prior to trial).
11

12
     D. MOTIONS IN LIMINE
13
             The parties are ordered to file with the court motions in limine, if any, seven (7) court days
14
     prior to trial. The motions shall contain a plain, concise summary of any reasonably anticipated
15
     disputes concerning admissibility of evidence, including but not limited to, live and deposition
16
     testimony, physical and demonstrative evidence and the use of special technology at trial, including
17
     computer animation, video discs, and other high technology. Any opposition briefs to the motions
18
     in limine shall be filed five (5) court days prior to trial. Unless otherwise noted, the court shall
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     resolve the motions in limine on the first day of trial.
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 1   E. EXHIBIT AND WITNESS LISTS

 2           The Government shall file exhibit and witness lists with the court five (5) court days prior

 3   to trial. A violation of this order may result in the imposition of sanctions including, but not limited

 4   to, monetary sanctions, the exclusion of evidence, or the striking of testimony or documents.

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 6   IT IS SO ORDERED.

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     DATED: April 7, 2009
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